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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :                    03/27/2018
REBECCA CASTILLO,                                                      :
                                                                       :
                                    Plaintiff,                         :     18-CV-951 (JMF)
                                                                       :
                  -v-                                                  :   ORDER OF DISMISSAL
                                                                       :
TORY BURCH, LLC,                                                       :
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X


JESSE M. FURMAN, United States District Judge:

        The Court having been advised (Docket No. 7) that all claims asserted herein have been
settled in principle, it is ORDERED that the above-entitled action be and is hereby dismissed and
discontinued without costs, and without prejudice to the right to reopen the action within thirty
days of the date of this Order if the settlement is not consummated.

       To be clear, any application to reopen must be filed within thirty days of this Order; any
application to reopen filed thereafter may be denied solely on that basis. Further, if the parties
wish for the Court to retain jurisdiction for the purposes of enforcing any settlement agreement,
they must submit the settlement agreement to the Court within the same thirty-day period to be
“so ordered” by the Court. Per Paragraph 4(B) of the Court’s Individual Rules and Practices for
Civil Cases, unless the Court orders otherwise, the Court will not retain jurisdiction to enforce a
settlement agreement unless it is made part of the public record.

        Any pending motions are moot. All conferences are vacated. The Clerk of Court is
directed to close the case.

        SO ORDERED.

Dated: March 27, 2018
       New York, New York
